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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

  IN RE: FCA US LLC MONOSTABLE
  ELECTRONIC GEARSHIFT LITIGATION                             Case Number 16-md-02744
                                                              Honorable David M. Lawson
                 MDL No. 2744                                 Magistrate Judge David R. Grand

  _____________________________________/

                   OPINION AND ORDER DENYING IN PART MOTIONS
                           TO SEAL CERTAIN DOCUMENTS

         Several putative class actions — some filed here, and others transferred to this district by

  the Panel on Multidistrict Litigation — have been consolidated in a Second Amended Master Class

  Action Complaint, alleging that defendant FCA US LLC (Chrysler) manufactured certain vehicles

  equipped with defective gear shifter mechanisms. The plaintiffs, alleging that they overpaid for

  their vehicles because the defect had been concealed from them at the time of sale, have moved

  for class certification, supporting their motion with affidavits from experts and several exhibits

  obtained from the defendant during discovery. The defendant has filed motions to seal some of

  the motion briefs and exhibits (including deposition excerpts) addressing class certification and

  motions to exclude expert witnesses, arguing that the materials contain “confidential or sensitive

  commercial information relating to FCA US’s vehicle development strategies, negotiations with

  suppliers, and sales practices,” and they “also contain[] confidential information pertaining to” a

  nonparty consultant that prepared a product evaluation report. Although the defendant recognizes

  the “strong presumption in favor of openness” for court filings, Brown & Williamson Tobacco

  Corp. v. FTC, 710 F.2d 1165, 1179 (6th Cir. 1983), and that the burden of overcoming that

  presumption “is a heavy one,” Shane Group, Inc. v. Blue Cross Blue Shield of Mich., 825 F.3d

  299, 305 (6th Cir. 2016), it has explained only in very general — and unconvincing — terms why
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  it wants the materials sealed, and it has not shown “why those reasons outweigh the public interest

  in access to those records,” Kondash v. Kia Motors America, Inc., --- F. App’x ---, No. 18-3181,

  2019 WL 1418168, at *2 (6th Cir. Mar. 28, 2019). Therefore, the Court will deny the motions to

  seal, except for a couple discrete items that are irrelevant or reflect an employee’s personal

  information.

                                                    I.

         Under the Court’s recently-amended local rule, when a party seeks to file motions or

  exhibits under seal, the motion must include a redacted version of the subject document, and the

  movant also must file an unredacted version under seal for the purpose of adjudicating the sealing

  motion only. E.D. Mich. LR 5.3(b)(2)(A)(v) & (vi). If other filing deadlines loom and the filing

  party has not received authority to file a motion brief or exhibit under seal, that party may file the

  motion papers with redactions pending a ruling on a properly filed sealing motion.                LR

  5.3(b)(2)(B). The defendant has opted for the latter procedure here. The papers it seeks to seal

  have been filed in a redacted format, and the unredacted version has been filed under seal as

  exhibits to its sealing motion.

         The rule also requires that the motion contain, “for each proposed sealed exhibit or

  document, a detailed analysis, with supporting evidence and legal citations, demonstrating that the

  request to seal satisfies controlling legal authority.” LR 5.3(b)(3)(A)(iv). As discussed below, the

  defendant has not satisfied that requirement.

                    I. Documents for Motions to Exclude Experts (ECF No. 298)

         Chrysler seeks to file under seal a list of specific redacted portions of the plaintiffs’

  oppositions to the defendant’s motions to exclude the testimony of plaintiffs’ experts Justine

  Hastings and Craig Rosenberg. It also requests the sealing of a prospective motion by the plaintiffs



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  to exclude testimony by defendant’s expert David Cades. However, as the plaintiffs point out in

  their response, they have not filed any motion to exclude any testimony by Dr. Cades.

         The main object of Chrysler’s concern appears to be a report of a focus group study that

  Chrysler commissioned non-party Lextant Corporation to perform. Lextant asked drivers to use

  and give their impressions of several alternative automobile shifter designs, including the

  “monostable” design targeted in this case. See Report of Polystable E-Shift Competitive Usability

  & Acceptance Study dated Aug. 24, 2012, ECF No. 298-5, PageID.10524-10616. Chrysler seeks

  to seal that report in its entirety. All of the other materials that the defendant wants to seal are

  merely passages of various expert reports and other filings that cite or discuss the Lextant focus

  group study, and the defendant does not advance any rationale for sealing those various derivative

  materials beyond the underlying argument for sealing the Lextant report itself.

         According to the executive summary of the report, the goal of the study was “to compare

  the Polystable E-shifter with 3 other shifters in terms of usability, perceived ease of use, and

  experience, in order to guide future product decisions.” PageID.10527. The principal conclusions

  of the study were that “familiarity and feedback (visual and tactile) contributed to a more

  successful user experience,” and that positive scores on those dimensions “led the Rotary and

  Polystable shifters to be the most successful in this study for user experience.” PageID.10528.

  Principal findings included the observations that “[p]articipants are familiar with shifting and don’t

  want to re-learn a behavior that doesn’t usually require them to think,” that drivers “want to feel

  confident that they have engaged the intended gear,” and that “[p]articipants expect system status

  (current gear) to be displayed in a timely manner, coordinating with the movement of the shifter,

  and in an easy to see location.” PageID.10529. Those findings were derived from one-on-one

  interviews with 30 study participants, after they had conducted a series of monitored and recorded



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  in-car exercises that included parking maneuvers, a three-point turn, and “additional shifting

  maneuvers.” PageID.10534-35. The report included a number of photographs of the in-car shifter

  mechanisms, head shots of the 30 participants, and other photographs and diagrams of the areas

  used for the parking and shifting exercises. PageID.10536-39, 10541. The report did not specify

  how the participants were selected, but they seem to have been members of the driving public who

  were recruited for the purpose of the study.

         Chrysler does not set forth any elaborate or precise analysis of any of the material in the

  92-page focus group report. Instead, it states in broad and general terms that the report should be

  sealed in its entirety “because it contains confidential or sensitive commercial information relating

  to FCA US’s vehicle development strategies, negotiations with suppliers, and sales practices,” and

  “[i]t also contains confidential information pertaining to nonparty Lextant Corp.” The defendant

  contends, without elaboration, that “[t]he study includes commercially sensitive information about

  the manner in which FCA US evaluates and selects componentry for its vehicles and the reasons

  for those choices,” and that “[i]t would cause substantial competitive harm to FCA US if

  Plaintiff[s] were permitted to publicly disclose the document or the contents of the document,”

  because “[s]uch information would enable a competitor to gain insight into FCA US’s decision-

  making process without the effort and resources FCA US incurred.” The defendant also asserts

  that “[t]he information . . . contains confidential information pertaining to the methods non-party

  Lextant Corp. uses to perform analysis and prepare work product for its clients,” and that “[a]s a

  result, disclosure of the Lextant-related materials would give Lextant’s own competitors access to

  its proprietary methods that would otherwise only be available to Lextant’s clients.”

         Parties desiring to file court papers under seal face a formidable task in overcoming the

  presumption that court filings are open to public inspection. In re Knoxville News-Sentinel Co.,



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  723 F.2d 470, 476 (6th Cir. 1983). “Unlike information merely exchanged between the parties,

  ‘[t]he public has a strong interest in obtaining the information contained in the court record.’”

  Shane Group, 825 F.3d at 305 (quoting Brown & Williamson, 710 F.2d at 1180). “[T]he public is

  entitled to assess for itself the merits of judicial decisions,” and, thus, “‘[t]he public has an interest

  in ascertaining what evidence and records the District Court [has] relied upon in reaching [its]

  decisions.’” Ibid. (quoting Brown & Williamson, 710 F.2d at 1181).

          “The courts have long recognized, therefore, a ‘strong presumption in favor of openness’

  as to court records,” and the “burden of overcoming that presumption is borne by the party that

  seeks to seal them.” Shane Group, 825 F.3d at 305 (citing Brown, 710 F.2d at 1179; In re Cendant

  Corp., 260 F.3d 183, 194 (3d Cir. 2001)). “The burden is a heavy one: ‘Only the most compelling

  reasons can justify non-disclosure of judicial records.’” Ibid. (quoting Knoxville News, 723 F.2d

  at 476).

          The status of the information sought to be shielded from public view as a trade secret is

  relevant. But trade secret status is neither a necessary nor a sufficient condition for sealing.

  Kondash, 2019 WL 1418168, at *3 (“While the existence of a trade secret will generally satisfy a

  party’s burden of showing a compelling reason for sealing documents, even if a trade secret does

  not exist, a court may still find a compelling reason exists; further, even if a district court finds that

  a trade secret exists, it must still determine whether public interest outweighs the moving party’s

  interests in protecting their trade secret.”)

          Even “[w]here a party can show a compelling reason for sealing, the party must [still] show

  why those reasons outweigh the public interest in access to those records and that the seal is

  narrowly tailored to serve that reason.” Id. at *2. “To do so, the party must ‘analyze in detail,

  document by document, the propriety of secrecy, providing reasons and legal citations.’” Ibid.



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  (quoting Shane Group, 825 F.3d at 305-06). “The presumption in favor of public access is strong

  when public safety is implicated”; thus, while it is “well-established that confidentiality provisions,

  protective orders, and the sealing of cases are appropriate litigation tools in some circumstances[,]

  the interests of public health and safety will often outweigh any confidentiality interests that might

  be implicated.” Ibid. (quotations omitted). “This is particularly true in class actions, where,

  because of the interest of a broader public outside of the named parties, the standards for

  overcoming the presumption of openness ‘should be applied . . . with particular strictness.’” Ibid.

  (quoting Shane Group, 825 F.3d at 305).

         Chrysler has failed to carry the heavy burden of justifying the wholesale sealing of the

  numerous evidentiary documents that it seeks in this motion, because (1) it has made no effort to

  analyze or explain with particularly, page by page, or line by line, how the various items of

  information in the 90-plus-page Lextant focus group study qualify as matters that are protected by

  any extant statutory or decisional authority that would permit sealing; (2) it has made no showing

  that any of the material qualifies as “trade secrets,” and it does not assert any recognized privilege

  in the information; and (3) even if some of the information could be regarded as “trade secrets,”

  the public interest in disclosure of it weighs heavily against granting the request for sealing,

  because the information will be central to the Court’s, and the jury’s, assessment of the merits of

  the claims in this case, and the information implicates public safety.

                A. The Defendant Has Not Made the Required Particularized Analysis

         To make its case on a motion to seal, the movant must “show why [compelling] reasons

  outweigh the public interest in access to [the] records [in question] and [demonstrate] that the seal

  is narrowly tailored to serve that reason.” Kondash, 2019 WL 1418168, at *2 (quoting Shane

  Group, 825 F.3d at 305-06). “To do so, the party must ‘analyze in detail, document by document,



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  the propriety of secrecy, providing reasons and legal citations.’” Ibid. The defendant has made

  no effort to make the required showing here, and instead offers only bare platitudes and vague

  generalities categorizing the Lextant report, in toto, as its “confidential business information.”

  Such vagaries may suffice to warrant the application of a “confidential” label during discovery,

  but they do not approach the required level of specificity and the strong particularized showing

  that is required to justify wholesale sealing of more than 100 pages of core documents in the

  evidentiary record of these proceedings.

         Moreover, Chrysler has offered nothing in the way of particularized details to explain “why

  the interests in favor of closure [are] compelling.” Shane Group, 825 F.3d at 307. The defendant’s

  vaguely phrased fears of revealing information about their “methods of selecting and testing

  products” are inadequate to justify sealing because “proponents of closure bear the burden of

  showing that ‘disclosure will work a clearly defined and serious injury[.]’” Ibid. (quoting Cendant,

  260 F.3d at 194). “‘In delineating the injury to be prevented, specificity is essential,’” but, just as

  in Shane, the defendant here “offers only platitudes” in its perfunctory briefing in support of the

  motion to seal. Ibid. Here, Chrysler has not even attempted to explain with particularity what

  injury would result from disclosure of the Lextant study results.

                 B. The Materials in Question Does Not Qualify as “Trade Secrets”

         The defendant has not made a case — or even suggested — that any of the information in

  the Lextant study comprises any form of “trade secrets.” Nor has it pointed to any statute or case

  law that restricts or prohibits the disclosure of the information in question. C.f., Shane Group, 825

  F.3d at 308 (noting that “in Knoxville News–Sentinel — a case involving litigation between a bank

  and the FDIC — we affirmed the district court’s decision to seal bank records containing financial

  information about the bank’s customers,” in part because “[v]arious ‘statutory provisions and


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  regulatory rules’ protected the customers’ information from disclosure, and the ‘order of the

  district court [was] narrowly tailored to serve that interest.’” (quoting 723 F.2d at 476-77)). “‘In

  civil litigation, only trade secrets, information covered by a recognized privilege (such as the

  attorney-client privilege), and information required by statute to be maintained in confidence (such

  as the name of a minor victim of a sexual assault),’ is typically enough to overcome the

  presumption of access.” Id. at 308 (quoting Baxter, 297 F.3d at 546); Brown, 710 F.2d at 1180

  (“In such cases, a court should not seal records unless public access would reveal legitimate trade

  secrets, a recognized exception to the right of public access to judicial records”). To qualify for

  protection as a trade secret, “information must (1) derive economic value from the fact that it is

  not known to others who could make use of it, and (2) be the subject of efforts that are reasonable

  under the circumstances to maintain its secrecy.” Mike’s Train House, Inc. v. Lionel, LLC, 472

  F.3d 398, 410 (6th Cir. 2006). Here, the defendants have not “even tried to demonstrate that any

  of the [information they want to conceal] is comparable to a trade secret.” Ibid.

         It is evident that nothing in the report of the Lextant study could qualify as a trade secret

  of either Chrysler or its vendor Lextant. For one thing, the study does not contain any information

  relating to internal engineering details of the Monostable shifter design. The study included

  photographs of the visible shifter lever within the passenger compartment, but those show nothing

  more than what any member of the driving public would see when sitting in the vehicles; certainly

  nothing visible was in any way “secret” after the cars went to market. Also, the study report

  indicates that Lextant employed 30 ordinary drivers as the focus group sample; nothing in the

  record suggests that any effort was made by Chrysler to compel those persons to preserve the

  confidentiality of anything that they observed or did during the study. The defendant insists that

  the study somehow comprises information about “how it selects products,” but nothing in the



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  report discusses any internal decision making by Chrysler. The report simply is a compilation and

  analysis of comments made to Chrysler’s focus group agency by ordinary drivers, indicating how

  they liked the shifter design (or not).

         The report included statistical analyses and visualizations of the results of the focus group

  vehicle tests and interviews, but the defendant has not cited any authority for the proposition that

  such conventional mathematical cogitations could be regarded as any sort of trade secret, or even

  was “proprietary” in the faintest sense. For one thing, Chrysler has not attempted to procure the

  sealing of the balance of the reports of the plaintiffs’ experts; one of the principal objects of the

  study by the plaintiffs’ expert Craig Rosenberg was to replicate the design of the Lextant study

  and derive a comparative sample to use in assessing its conclusions. Report of Craig Rosenberg,

  ECF No. 299-4, PageID.10401 (“My experimental design was similar to the Lextant Study,

  allowing for fair comparisons between the two studies. In both my study and the Lextant Study,

  the Monostable gear shift was associated with high error rates and poor user ratings.”). Chrysler

  wants to seal the results of the Lextant study, but it has not advanced any credible claim that the

  methods used in the study or the report in any way qualify as trade secrets. Here again, the

  defendant’s presentation fails for want of any attempt to make the required particularized showing

  identifying the trade secret subject to protection. It is widely accepted by federal courts that a

  party seeking trade secret protection “must identify its trade secrets with a reasonable degree of

  precision and specificity that is particular enough as to separate the trade secret from matters of

  general knowledge in the trade or of special knowledge of persons skilled in the trade.” Dow

  Chem. Canada, Inc. v. HRD Corp., 909 F. Supp. 2d 340, 346 (D. Del. 2012); see also Big Vision

  Private Ltd. v. E.I. DuPont De Nemours & Co., 1 F. Supp. 3d 224, 258-59 (S.D.N.Y 2014)

  (collecting cases). The defendant has made no attempt to do so here.



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           The defendant asserts in similarly general terms that the report comprises “confidential

   methods” by which Lextant services its customers. The Sixth Circuit has recognized that “‘the

   privacy interests of innocent third parties should weigh heavily in a court’s balancing equation.’”

   Shane Group, 825 F.3d at 308 (quoting United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir.

   1995)). But the cases where the sealing of information has been upheld concerned clearly personal

   and impertinent details associated with third parties, such as personal identifying information of

   crime victims or financial records of a bank’s customers. Shane Group, 825 F.3d at 308; Knoxville

   News-Sentinel, 723 F.2d at 476-77.         No such compelling third-party privacy interests are

   implicated by anything in the report at issue here; to the extent that it concerns details of any of

   the participants, nothing more is revealed than their headshots, and no personally identifying

   information was included in the report.

            C. The Public Interest in Disclosure Outweighs any Private Interest in Secrecy

           Finally, even if some of the information could be regarded as some form of trade secrets,

   the interest in full disclosure of the study results is particularly compelling in this case, which is a

   prospective class action concerning allegedly dangerous transmission defects affecting more than

   800,000 vehicles made by the defendant. Kondash, 2019 WL 1418168, at *2. (holding that even

   “[w]here a party can show a compelling reason for sealing, the party must [still] show why those

   reasons outweigh the public interest in access to those records and that the seal is narrowly tailored

   to serve that reason”). “The presumption in favor of public access is strong when public safety is

   implicated”; thus, while it is “well-established that confidentiality provisions, protective orders,

   and the sealing of cases are appropriate litigation tools in some circumstances[,] the interests of

   public health and safety will often outweigh any confidentiality interests that might be implicated.”

   Ibid. (quotations omitted).


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          According to the study report, after the exercises and interviews were completed, Lextant’s

   staff conducted various “quantitative and qualitative analys[es]” to compile the responses of

   participants and summarize them in a cohesive way. PageID.10542. One of the summary methods

   involved creation of “word clouds” depicting the frequency with which participants used various

   words to describe the shifter designs, color-coded with green to highlight favorable terms and red

   to denote unfavorable terms. The most often used terms in describing the “Polystable” shifter

   design included “smooth,” “easy,” “convenient,” “intuitive,” “comfortable,” and “familiar.”

   PageID.10544. The “Monostable” design drew far less favorable reviews, and participants

   described it most frequently as “insecure,” “awkward,” “uncomfortable,” “frustrating,” and

   “difficult.” In fact, nearly all of the terms used to describe the monostable design were negative;

   less frequently used phrases panned it as “dangerous,” “annoying,” “pain-in-the-ass,” and “piece-

   of-junk.”   PageID.10545.     The report also included a breakdown of statistical calculations

   demonstrating the significance of the frequency of the different qualitative responses used to

   describe the shifters and the feelings users had about them during the vehicle exercises.

   PageID.10549-10563.

          Notably, the report also included statistical tables recording the frequency of shifting errors

   of different types during the vehicle exercises.       Errors recorded included undershooting or

   overshooting the intended gear, failing to activate the trigger on the shifter in order to move into

   another gear, shifting in the wrong direction to reach the intended gear, thinking that the car was

   in a different gear than the one actually selected, and thinking that the car was in a gear other than

   the intended one, followed by shifting out of the correct gear into an incorrect setting.

   PageID.10588. One of the principal conclusions of the error analysis was that “Overall, the Rotary

   had the least number of errors and the Monostable had the most.” PageID.10564. The report also



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   noted that the Monostable design produced the “most variety of errors.” PageID.10588. The

   number of errors observed in the vehicle exercises varied dramatically between the different

   designs, with less than 20 “parking errors” for the conventional or “Gated” shifter and 22 for the

   Polystable design, but 342 for the Monostable shifter. The analysis also noted that “the Monotable

   [shifter’s] ratings decreased over time as it did not get easier to user and participants still felt unsure

   and confused even after using it over the duration of the study.” PageID.10565. The report also

   tellingly noted that, while all of the study participants were able to learn to use the other designs

   within four or fewer attempts, 26 of the 30 participants were unable to learn to use the monostable

   shifter reliably within four tries. PageID.10573. The report also concluded that “Even with time,

   the Monostable [design] was difficult to use without error.” PageID.10574.

           The information in the Lextant study goes to the very heart of the case, and will be crucial

   to the presentation of the plaintiffs’ claims that the gear shift design was defective from the outset

   due to its confusing and unreliable operative and indicative characteristics, and that Chrysler well

   knew of those defects during its design and implementation, before class vehicles with the shifter

   went to market. The public interest in having a fullsome opportunity to assess the basis of those

   claims and any dispositive decisions reached by this Court or, ultimately, a jury, could not be more

   compelling than it is here, and it certainly outweighs the vague private interest in secrecy advanced

   by the defendant in its motion.

           The defendant has not made a convincing attempt to explain in any particularized fashion

   how its interest in sealing information from the Lextant study outweighs the compelling public

   interest in full disclosure of these proceedings. See Shane Group, 825 F.3d at 306 (“The parties’

   asserted bases for sealing off all this information were brief, perfunctory, and patently

   inadequate.”). The Sixth Circuit sternly has warned the district courts of this circuit, in Shane and



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   in other cases, that summarily granting motions to seal without articulating specific reasons rooted

   in the facts and circumstances of the case to show why sealing is necessary is not a procedure that

   comports with the presumption of full disclosure in the judicial process. United States v.

   DeJournett, 817 F.3d 479, 485 (6th Cir. 2016) (“‘The interest [justifying nondisclosure] is to be

   articulated along with findings specific enough that a reviewing court can determine whether the

   closure order was properly entered.’” (quoting Press-Enterprise, 464 U.S. at 510)). Thus, the

   Court is unable to articulate any adequately reasoned finding that any of the information derived

   from the focus group study at issue here should be protected from public view where the defendant

   has failed to suggest any substantial basis for such a ruling.

           The Court will deny the defendant’s motion to seal the 2012 Lextant study and materials

   relating to it.

            II. Motion to Seal Certain Items in the Class Certification Motion (ECF No. 311)

           Chrysler also asks the Court to maintain under seal various exhibits to the plaintiffs’ motion

   for class certification. Those are:

           (1) Exhibit B, which is excerpts of the deposition of Chrysler’s witness Stephen Williams,
           mainly consisting of passages where Williams admits that the Monostable shifter design at
           issue in this case was essentially the same or “exactly the same part” used in different
           models under various Chrysler brands (ECF No. 287-2, PageID.8337-8345).

           (2) Exhibit C, which is a copy of the same Lextant study discussed above (ECF No. 287-
           3, PageID.8347-8439).

           (3) Exhibit D, which is a report of an October 2010 study by Lextant, conceptually similar
           to the 2012 focus group study in scope and content, in which various Monostable shifter
           designs from competitor vehicles were compared with two of Chrysler’s (then) concept
           Monostable designs (ECF No. 287-4, PageID.8442-8535).

           (4) Exhibits E and L, which are excerpts of a deposition of Chrysler’s witness Jay Tenbrink
           (ECF No. 287-5, PageID.8537-8545), and an internal Chrysler email sent by him (ECF No.
           287-12, PageID.8578), mainly consisting of discussions about his participation in and
           direct observations of the 2012 Lextant study.



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          (5) Exhibit F, which appears to be PowerPoint slides created by Chrysler staff
          summarizing the 2010 Lextant study findings and stating several recommendations,
          notably including “[c]reating more defined, tactile detents for [Park,] Reverse, Neutral, and
          Drive” gears in the shifter design (ECF No. 287-6, PageID.8547-8550).

          (6) Exhibit G, which appears to be more PowerPoint slides comprising excerpts of the
          2010 Lextant study and recommending adoption of a Rotary shifter design already
          developed for certain Jaguar models to be implemented as a replacement for the
          Monostable shifter (ECF No. 287-7, PageID.8552-8560).

          (7) Exhibits H and I, which appear to be one page of meeting notes and several PowerPoint
          slides produced by Chrysler staff concerning the adoption of alternative mechanisms to
          replace the Monostable shifter, and a timeline for putting the Monostable shifter design
          into production (ECF No. 287-8, PageID.8562-8563).

          (8) Exhibit J, which is a string of July 2011 internal e-mail correspondence between
          Chrysler staff discussing issues experienced by one of the correspondents while driving a
          test vehicle equipped with the Monostable shifter, options for modifying the design, and
          the “timeline” impact of those options (ECF No. 287-10, PageID.8567-71).

          (9) Exhibit K, which is a two-page excerpt of a deposition of Chrysler’s witness Jim
          Bielinda, evidently offered by the plaintiffs solely to identify the position within Chrysler
          of another person, Allen Amici (ECF No. 287-11, PageID.8574-75).

          (10) Exhibit N, which is Chrysler internal email correspondence from January 2013
          concerning a published article that featured one reporter’s impressions from driving a then
          new or soon to-be-released Charger model equipped with the Monostable shifter design,
          when various car models were exhibited to members of the press during a test track event
          aligned with the Detroit Auto Show (ECF No. 287-13, PageID.8580-8584).

          (11) Exhibit S, which is the same report of plaintiff’s expert Craig Rosenberg discussed
          above, where the defendant seeks to maintain under seal the same excerpts citing or
          discussing the 2012 Lextant focus group study.

          As with the previous motion, most of the defendant’s requests to seal the specific items

   listed above stem from its underlying desire to maintain the secrecy of the principal documents

   with which it is concerned, which are the 2010 and 2012 Lextant studies where ordinary drivers

   were asked to use several types of shifters and comment about their experiences. All of the other

   materials are merely derivative of those studies, except portions of Exhibit B, discussing that the

   “exact same part” was used in several models of Chrysler cars, Exhibits F and G, which included



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   discussions about alternatives to the Monostable design and the timeline for implementing those

   alternatives, and Exhibits J, N, and L which discussed impressions of Chrysler employees and a

   published media report including complaints about the shifter design.

          Once again, the defendant does not elaborate on its general rationale for seeking to seal

   these documents. It simply states that the listed exhibits comprise “confidential and sensitive

   business information of FCA US, including proprietary product development information, and

   confidential business information of third party Lextant.”         And the defendant offers only

   nonspecific arguments in support of its position that revealing “timelines” for product

   implementation would harm its competitive interests. It also argues that, unlike the case in Shane

   Group, its requests to seal are “tailored” because they only comprise several among the numerous

   exhibits offered in support of the class motion, whereas in Shane Group the sealing order

   encompassed the entire motion and all of its exhibits.

          Exhibits B, C, D, E, F, G, L, and S all comprise discussions of or excerpts from the 2012

   Lextant study and a conceptually similar 2010 study. For instance, Exhibit L is an email by

   Chrysler employee Jay Tenbrink commenting on his direct observations from participating in the

   2012 focus group study by Lextant. He wrote:

          The poly-stable shifter is doing very well. With most drivers it is scoring highest.
          Intuitive, easy to use, traditional (in a good way), confident. The 1.5 second lag to
          show park in the cluster is definitely a detractor.

          The results of the mono-stable shifter are much worse than I expected. It really is a
          shame that we are putting this thing in cars. Anyone who speaks well of that shifter
          loses credibility in my book. We should get that thing out of our cars ASAP.

   Email dated Aug. 3, 2012, ECF No. 287-12, PageID.8578. The requests to seal the content of

   those studies, and any materials citing or discussing them, will be denied for all of the same reasons

   discussed above with respect to the request to seal the 2012 study.



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          Exhibits J and N comprise discussions about a driving report by a Chrysler employee and

   a published article by a reporter heavily criticizing the shifter design. For similar reasons to those

   noted above, the public interest in disclosure of this information, which is powerfully probative of

   Chrysler’s foreknowledge of the defects in the shifter design, heavily outweighs any interest that

   Chrysler asserts in concealing those portions of the record.

          In Exhibit J, a Chrysler employee wrote an extensive and candid report of his experience

   driving a Chrysler car with the then-new Monostable shifter design. That account included the

   following anecdote:

          Last week I took delivery of my 2012 Fast-Feedback Charger equipped with the
          3.6L and 8-speed e-shift trans and was not very impressed with the functionality of
          the shifter. I was so disappointed that I immediately input my negative comments
          into the Driver Report Entry System . . . . I didn’t realize any issues until I had to
          shift into reverse when backing into my parking spot. It seemed I couldn’t “find”
          reverse. I kept going from park to neutral, always seeming to go right over reverse.
          It made me feel like an idiot because someone had to wait for me while I was
          screwing around with the shifter and trying to get my car out of the isle [sic] and
          into the parking spot.

   Email dated July 26, 2011, ECF No. 287-10, PageID.8570. The originator of the thread also wrote

   about his experiences showing the shifter off to several family members:

          Most of them found another issue that made them very uncomfortable and that was
          putting the vehicle back into park. They all were afraid to take their foot off the
          brake pedal because they were unsure the vehicle was actually in park (until I told
          them to look at [the] PRNDL light). I was relieved that they experienced the same
          issues that I did. Unfortunately, that also meant that we are about to send a vehicle
          into production that may not appear to function properly.

   Ibid. Finally, he concluded with the following inquiry:

          I know that it may take time to get used to this new configuration but my question
          is, “why can’t the shifter function the same way our current shifters function or
          even the same way Ford, GM, Toyota, and everyone else’s shifters currently
          function . . . or even those dating back to the invention of the automatic
          transmission?”




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   Ibid. Another correspondent in the exchange, Allen Amici, wrote that he had “[e]xperienced the

   same myself . . . though not to the degree of the author.” Id. at PageID.8569. In subsequent

   exchanges, other Chrysler employees responded that the options for modifying the shifter were

   limited within the timeline available, and that only minor modifications such as increasing the

   tension of detent springs would be “short lead time” to implement. Id. at PageID.8567.

          In Exhibit N, the email exchange opened with a verbatim extract of a published media

   article about one reporter’s impressions of the new Charger. Among other things, the reporter

   wrote at length about his experience with the shifter design:

          Since we’re talking about shifting. . . . I do have one major complaint about the car,
          and feel it deserves a clear explanation. In my opinion, the new automatic gear
          selector mechanism (PRND rocker stick) is terrible. Transmissions these days are
          totally electronic, and the shift lever on the tunnel of the Charger AWD is just an
          electronic rocker switch with a few hard-to-detect clicks (detents). It rocks up
          (forward) and down (backward), one or two faint clicks, always springing back to
          the same center position. The problem is that it doesn’t seem to work in an intuitive
          manner. In fact, in several cases it was downright dangerous.

          Here’s what happend to me several times during my week long experience with the
          new Charger . . . Sometimes I got Reverse, sometimes Neutral, and sometimes
          Drive — no matter which I was after. If I was really concentrating, I could get the
          exact gear I wanted — but that’s my point. With the usual Chrysler shift lever, I
          don’t have to think to do this because each mode selection (Park, Reverse, Neutral,
          and Drive) has its own physical location along the throw of the lever.

   Email dated Jan. 22, 2013, ECF No. 287-13, PageID.8583. In the ensuing email thread, Chrysler

   staff commented on several points of criticism that they felt were unfair, and one correspondent

   stated the following about the prospects for improving the design:

          The issues he describes with the shifter are all known and well documented.
          Unfortunately the logic is locked in because the transmission supplier ZF will not
          let us change it. There is a small change coming in 2014 that will help the R to D
          shift, but otherwise this will not be resolved until 2015 when we implement the
          polystable shifter design. We could have a discussion with [the reporter] off line,
          but there isn’t much else we can say.

   Id. at PageID.8582.


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             Nothing in these discussions concerns any particularized engineering details of the shifter

   design, and all of the information concerns outward impressions and experiences of using the

   design. Also, the related statements that the problems with the design were “known and well

   documented” and that alternatives were identified but would not be implemented for two more

   model years, is powerfully probative evidence that the defendant well knew about the defects and

   chose not to withhold the defective design from the market in service to its own economic

   concerns. Moreover, the verbatim recitation of a published article in which a reporter stated his

   complaints about the design certainly was not in any sense “confidential” or concealed from

   anyone.

             The defendant has not explained in any coherent fashion why the deposition excerpt in

   Exhibit K should be sealed, and the plaintiff ostensibly offered it only to establish the position

   within Chrysler held by one of the correspondents in the email discussions (Allen Amici).

             The motion to seal certain exhibits in the plaintiffs’ class certification motion will be

   denied.

                          III. Motion to Seal Certain Items in the Response to the
                                Class Certification Motion (ECF No. 326)

             In this motion the defendant moves to seal portions of its own brief in opposition to the

   motion for class certification, and a number of exhibits attached to the brief, because they discuss

   or cite the 2010 and 2012 Lextant focus group reports. Those are Exhibits 2, 3, 16, 20, 21, 27, and

   29 to the defendant’s opposing brief. For the same reasons discussed above, the motion will be

   denied as to those exhibits and sections of the brief.

             The defendant also asks the Court to seal certain other exhibits or portions of exhibits that

   it argues — again, formulaically and with little elaboration — would reveal its “confidential and

   proprietary business information.” Those exhibits are:

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          (1) Exhibits 4, 6, and 8, which appear to be (a) meeting notes concerning funding and
          schedules for various products unrelated to the Monostable shifter or any class vehicle,
          with a single paragraph relating to the Monostable shifter (ECF No. 327-4, PageID.13692),
          (b) meeting minutes covering schedules and funding for vehicle projects unrelated to the
          class vehicles or transmission design, with two portions related to the Monostable shifter
          design (ECF No. 327-6, PageID.13698), and (c) meeting minutes concerning the decision
          to abandon alternative designs and move ahead with the Monostable shifter, as well as
          notes about several other vehicle projects unrelated to the class vehicles. The defendant
          highlighted portions of those exhibits, apparently to indicate which sections comprise the
          unrelated financial and other product line details that it is concerned about.

          (2) Exhibits 5 and 7, which appear to be slides from two Chrysler internal presentations
          concerning (a) the prospect of implementing the Rotary shifter design used in several
          Jaguar models for other Chrysler model lines, including the time and cost anticipated for
          the changeover (ECF No. 327-5, PageID.13694-96), and (b) the decision to go ahead with
          the Monostable shifter design, including cost and timing estimates, and, notably, stating
          the conclusions that “Many shifting errors occurred in [the Lextant] clinic due to
          overshooting intended gear,” and that “Many shifting errors occurred in [the] clinic due to
          the delay to park and lack of park confirmation,” (ECF No. 327-7, PageID.13700-704).

          (3) Exhibits 9 and 15, which Chrysler says are presentation slides summarizing the results
          of customer surveys and user testing clinics that it conducted in response to reports of
          problems with the Monostable shifter design and complaints about cars using the shifter.
          (ECF No. 327-9, PageID.13708-710; ECF No. 327-12, PageID.13720-723). Notably, the
          survey concluded that only around 1/3 of drivers with the Monostable shifter design rated
          it as “easy to engage all gears,” while nearly 90% of customers with conventional shifter
          designs rated all the gears as “easy to engage” (PageID.13721).

          (4) Exhibit 11, which is a Chrysler internal email from which the defendant apparently
          only wants to redact one personal telephone number (ECF No. 327-10, PageID.13712).

          (5) Exhibit 14, which Chrysler states is correspondence to the NHTSA reporting the results
          of its defect investigation, notably expressing Chrysler’s view that, while the Monostable
          shifter design “operates and feels different than previous designs . . . [w]hen the shifter is
          used properly, the vehicle will not move inadvertently” (ECF No. 327-11, PageID.13716).

          The defendant offers the same formulaic recitations advanced in its other motions, arguing

   that competitors could gain insights into its “decision making process” if the information in the

   various exhibits is disclosed.

          The defendant highlighted portions of Exhibits 4, 6, and 8 containing information about

   unrelated products and the financial details of projects related to them. It is undisputed that the



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   information is irrelevant to any issue in this litigation and unrelated to the class vehicles or the

   design and implementation of the Monostable shifter. The information coincidently is found in

   the same documents that contain material relevant to this litigation. There is no good reason why

   the material relating to other products should not be excluded from public consideration. But it is

   evident that any interest Chrysler may have in preserving the confidentiality of the unrelated

   product details adequately can be addressed by redaction. Where crucial “portions of the [filings]

   may be amenable to public access without jeopardizing the confidentiality of sensitive

   information,” and “confidential information [is not] so embedded in a [filing] that line-by-line

   redaction is impossible . . . redaction [is] a reasonable alternative to sealing the entire [document].”

   IDT Corp. v. eBay, 709 F.3d 1220, 1224 (8th Cir. 2013). The request to seal those documents in

   their entirety will be denied, but the defendant may submit copies of the exhibits redacted to

   conceal the information highlighted in the its submissions.

           The same can be said for the document containing the employee’s personal telephone

   number: that readily may be redacted from Exhibit 11.

           For all of the same reasons discussed above, the Court will deny the request to seal Exhibits

   5, 7, 9, and 15, all of which comprise powerfully probative information about Chrysler’s

   knowledge of the Monostable shifter design problems, its cognizance of alternatives to the

   problematic design, and the reasons that it decided to reject the available alternatives and push

   ahead with marketing the allegedly defective product, despite the well-documented concerns.

           The information in Exhibit 14 is similarly probative of Chrysler’s alleged efforts to conceal

   the defect from safety authorities and consumers in the response to NHTSA’s recall investigation.

   Moreover, inasmuch as it comprises communications to a government authority, the report

   certainly was not in any sense “confidential” to Chrysler. In any event, even if the report was



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   made in confidence, any present interest Chrysler may have in maintaining its confidentiality is

   outweighed by the public’s interest in full disclosure of it as an item of evidence in this case.

                         IV. Motion to Seal Exhibits to the Plaintiffs’ Reply
                   in Support of Their Motion for Class Certification (ECF No. 344)

          After the motions discussed above were scheduled for hearing, Chrysler filed a motion to

   seal certain documents attached to the plaintiffs’ reply in support of their motion for class

   certification. The motion is fully briefed, and the Court sees no need for oral argument. In that

   motion Chrysler again seeks to seal certain excerpts from the 2012 Lextant study, which was

   discussed at length above. It also asks to seal the following exhibits that were not previously

   discussed:

          (1) Exhibit B, which is excerpts from the deposition of Chrysler’s witness Stephen
          Williams (ECF No. 345-3, PageID.17063-64), in which Williams discussed (1) the fact
          that the Chrysler public relations department typically would draft questions pertinent to
          vehicle investigations and recalls, with input from other departments if “they missed
          something that was important,” and (2) the fact that FCA used the same Monostable shifter
          design that had been employed in certain Audi and Bentley models “without any material
          change,” and that the “function of it was exactly the same.”

          (2) Exhibit C, which Chrysler identifies only as an “internal document addressing recalls,”
          consisting of a “General Overview,” apparently drafted to summarize Chrysler’s position
          on the gear shifter recall, and a series of questions and answers on various topics, e.g., “Do
          you have a remedy?”, “Why did you use this shifter in the first place?”, and “Are these
          shifters still in production?” ECF No. 345-4, PageID.17066-67.

          (3) Exhibit D, which is a screenshot from a Chrysler database showing information related
          to a change in a shifter design, with an indicated implementation date in late 2012. ECF
          No. 345-5, PageID.17069.

          (4) Exhibit E, which is an April 2016 email string involving discussion of Chrysler internal
          correspondence and slide presentations related to the decision to implement the Monostable
          shifter and alternatives that were considered. Significantly, the concluding message in the
          series noted that there was an “investigation [in 2010 about whether] to move quickly to
          the Jaguar [rotary shifter] component as a result of the use studies,” but the “proposal did
          not move forward due to licensing rights to the shifter design held by the OEM rather than
          the supplier.” Email dated Apr. 26, 2016, ECF No. 345-6, PageID.17071. The
          correspondence also included an “Executive Summary” of a Chrysler internal “Bulletin”
          dated November 10, 2010, which stated that, “Based on clinic results, the PoR monostable

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          shifter has been deemed unacceptable from a customer usability and intuitiveness
          standpoint, however, the rotary knob concept (Jaguar XF/XJ) scored very well.”
          PageID.17072. The “Bulletin” noted that the rotary shifter concept was “Rejected” in
          November 2010. Ibid. Further along in the 2016 email discussion, the question was posed:
          “Do you have any knowledge if there were discussions around adding an auto park feature
          when the monotstable [shifter] was selected,” but the only response was, “Take a look at
          Bulletin 0012334 from November 2010”; the excerpt of that bulletin quoted in the email
          string does not contain any apparent reference to an auto park feature. PageID.17074-75.

          The same observations made above apply to these exhibits. First, Chrysler advances only

   formulaic arguments that the information is “proprietary” and would reveal its “decision making

   process” and how the company “evaluates recalls.” That may be true for the historic decisions

   about the shifter design involved in these lawsuits. But it does not necessarily provide a peek into

   the present corporate mindset for products now in development.

          More to the point, how Chrysler decided to use the Monostable shifter design, what

   alternatives it considered, and why those alternatives were not used, all are matters at the very core

   of this litigation. The motoring public has a compelling interest in knowing as much as can be

   known about those critical product development decisions, so that members of the public can

   determine for themselves whether Chrysler unreasonably implemented a dangerously defective

   design for selfish or other questionable reasons, despite the availability of safer alternatives.

          The public also certainly has a compelling interest in knowing how Chrysler “evaluated”

   the recall investigation in this case, in order to observe how the parties urge to Court to weigh the

   claims that, instead of disclosing the known safety defects with the shifter, the company instead

   elected to conceal its prior knowledge of the problems, and instead blame the reported accidents

   and injuries entirely on “user error” instead of its defective design. Those concerns outweigh any

   supposed “proprietary interest” in its “decision-making process,” which, again, reveal nothing that

   appears to be in any way truly proprietary, and, as mentioned at oral argument, which relate to

   decisions that were made almost a decade ago, about products on which production has long since

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   ceased. Chrysler has not identified with any specificity a tangible harm that it would suffer from

   the disclosures. Any such harm is outweighed by the public interest in full access to an open record

   of the proceedings and the evidence used to evaluate the merits of the plaintiffs’ motion to certify

   the cases as class actions.

                     V. Additional Motions to Seal (ECF Nos. 335, 336, 348, 360)

          The parties have filed several other motions to seal certain brief excerpts and exhibits in

   motions pending before the magistrate judge. Within the next week, the parties must evaluate

   those other motions and withdraw those seeking closure of substantially the same materials

   discussed in this order. If any entirely unrelated materials are concerned in the subsequent

   motions, and if there are credible bases for the sealing requests in light of the Court’s present

   rulings, the moving party may resubmit appropriately winnowed motions addressing only those

   outstanding and truly meritorious requests for closure.

                                            VI. Conclusion

          Except for a few discrete instances, the defendant has not overcome the “strong

   presumption in favor of openness” of court records. Shane Group, 825 F.3d at 305 (citing Brown,

   710 F.2d at 1179; In re Cendant Corp., 260 F.3d 183, 194 (3d Cir. 2001)). Nor has the defendant

   shown why its generally-described reasons for sealing records “outweigh the public interest in

   access to those records,” Kondash, 2019 WL 1418168, at *2, sufficiently to justify the wholesale

   sealing of certain exhibits.

          Accordingly, it is ORDERED that the motions to seal certain documents (ECF Nos. 298,

   311, 344) are DENIED.

          It is further ORDERED that the motion to seal certain items in the response to the class

   certification motion (ECF No. 326) is GRANTED IN PART AND DENIED IN PART. Those



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   parts of Exhibits 4, 6, and 8, which contain meeting notes concerning funding and schedules for

   various products unrelated to the Monostable shifter or any class vehicle, and meeting minutes

   covering schedules and funding for vehicle projects unrelated to the class vehicles or transmission

   design, and meeting minutes concerning several other vehicle projects unrelated to the class

   vehicles; and that part of Exhibit 11, which includes one personal telephone number of an

   employee, may be redacted to exclude the irrelevant information and filed in the court record in

   redacted form, but not under seal.

          It is further ORDERED that on or before May 8, 2019, the parties must file redacted

   versions of Exhibits 4, 6, 8, and 11 to the defendant’s response to the motion for class certification.

   Copies of those same exhibits that the parties offer in support of other papers must be filed in

   appropriately redacted form by that same date.

          It is further ORDERED that on or before May 8, 2019, the parties must file unredacted

   and unsealed copies of all other documents subject to the requests to seal discussed in this order.

   The filings must include an index of exhibits denoting which previously-redacted or sealed items

   the new documents replace.

          It is further ORDERED that on or before May 8, 2019, the parties must evaluate all other

   motions to seal not adjudicated by this order and withdraw those seeking closure of substantially

   the same materials.

                                                                  s/David M. Lawson
                                                                  DAVID M. LAWSON
                                                                  United States District Judge

   Date: May 1, 2019




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                                       PROOF OF SERVICE

                    The undersigned certifies that a copy of the foregoing order was
                    served upon each attorney or party of record herein by
                    electronic means or first-class U.S. mail on May 1, 2019.

                                               s/Susan K. Pinkowski
                                               SUSAN K. PINKOWSKI




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